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                                                    U.S. Department of Justice


                                                    United States Attorney
                                                    Eastern District of New York
CMM                                                 610 Federal Plaza
F. #2017R01994                                      Central Islip, New York 11722



                                                    October 28, 2022

By ECF

The Honorable Joanna Seybert
United States District Judge
United States District Court
Eastern District of New York
100 Federal Plaza
Central Islip, 11722

               Re:    United States v. Mara Ficarra
                      Criminal Docket No. 18-CR-679 (S-1) (JS)

Dear Judge Seybert:

               The government respectfully submits this letter in advance of the defendant Mara
Ficarra’s sentencing in the above-captioned matter, which is scheduled for November 4, 2022. On
June 6, 2022, the defendant pleaded guilty, pursuant to a plea agreement, to a one-count
superseding information, charging the defendant with conspiracy to commit mail, wire and bank
fraud. As set forth in the Presentence Investigation Report (“PSR”), the defendant’s applicable
United States Sentencing Guidelines (the “Guidelines” or “U.S.S.G.”) range is 46 to 57 months’
imprisonment. For the reasons set forth herein, and as set forth in the negotiated plea agreement,
a sentence of no more than 41 months’ imprisonment is sufficient, but not greater than necessary,
to achieve the goals of sentencing in this case. (See Plea Agreement, ¶ 5(b).) The government
also requests that the Court delay entering an order of restitution pending the government’s
provision, within 90 days, of detailed victim loss information.1

I.     Background

               The PSR accurately summarizes the offense conduct. (See PSR ¶¶ 4-9.)

               The defendant and her late husband owned and operated various corporations,
including, but not limited to, Remington Biographies Inc., Remington Bookkeepers Inc., and
Mentorship America1 Inc. (collectively, the “Remington Entities”). (PSR ¶ 4.) The defendant
was the Chief Executive Officer (“CEO”) of Remington Bookkeepers and the Treasurer and

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              The government anticipates that total restitution will be in the range of
approximately $1.5 to $1.9 million.
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Secretary of Mentorship America1. The defendant’s late husband was the CEO of Remington
Biographies and the President of Mentorship America1. (Id.)

               The Remington Entities purported to publish reference publications generally
containing concise biographical information of individuals from across the country. Reference
publications included “Inspiring The Youth of America” and “The Remington Registry of
Outstanding Professionals” (the “Remington Registry”). The defendant and her late husband
operated the Remington Entities out of their residence in Southampton, New York. (Id. ¶ 5.)

                Between January 2013 and December 2018, the defendant and her late husband
engaged in a large-scale mail and check fraud scheme targeting elderly victims across the United
States. (Id. ¶ 6.) The sent mailings inducing thousands of individuals (the “Victims”) to send
checks of nominal value, such as $14.00, in payment for inclusion in the Remington Entities’
reference publications. These mailings indicated that the Victim’s biography would be published
in the Remington Registry reference publication produced by Remington Biographies, Inc. (Id.)
The letters, which were addressed to “Dear Nominee,” stated that “Your 2 books and your plaque
are paid for in full and ready for delivery. Please send a check for 14.00 dollars for shipping and
handling. Make check payable to Remington Biographies. Place check in envelope we provided
and mail it to us promptly.” (See id.; see also Superseding Information at ¶ 4.)

                The pamphlet described the Remington Registry reference publication and stated,
in pertinent part, that “The Remington Registry of Outstanding Professionals is more than a
website, more than a book, more than a Biographical index and certainly more than a who’s who.
It is the ultimate expression of achievements, hardships, and dedication that professionals have
made in their lives and careers. The Registry is perhaps one of the most powerful inspirational
tools in existence today. Each Biography is painstakingly produced with respect and admiration
first and foremost.” The pamphlet further stated: “At this point we wish to welcome your
inclusion. We encourage you to keep an open mind and fill out the provided questionnaire as best
you can. Set back and be ready for a wonderful experience.” The pamphlet was signed by the
defendant’s late husband, as the Managing Director of Remington Biographies, and the address
for the Remington Registry on the pamphlet was the defendant’s and her late husband’s residence
in Southampton. (See PSR ¶ 6; see also Superseding Information at ¶ 5.)

               In response to receiving these letters and pamphlets, thousands of victims sent
checks to the defendant and her late husband as payment for inclusion in the Remington Entities’
reference publications. (PSR ¶ 6.)

               Upon receipt of these checks for “shipping and handling,” the defendant and her
late husband used the banking and routing information from those checks to create fabricated
checks in larger amounts. (PSR ¶ 7.) The fraudulent checks were type-written in similar fonts,
and contained a stamp on the signature line that stated as follows: “Signature Not Required. Your
depositor has authorized this payment to payee. Payee to hold you harmless for payment of this
document. This document shall be deposited only to the credited payee.” (Id.) The defendant and
her late husband then caused the fabricated, fraudulent checks to be deposited, without
authorization, into various bank accounts controlled by the defendant and her late husband, by
various means, including, but not limited to, mobile deposit interstate wire transmissions. The



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defendant and her late husband then withdrew cash from these accounts. (Id.) Various financial
institutions, the deposits of which are insured by the FDIC, processed the fraudulent checks. (Id.)

                In total, the defendant and her husband caused the more than unauthorized deposit
and transfer of $1.9 million from the victims’ bank accounts. (Id. ¶ 8.)

II.    The Presentence Investigation Report

       A.      The United States Sentencing Guidelines

              On September 13, 2022, the United States Probation Department issued the PSR.
The PSR set forth the following Guidelines calculation:

               Base Offense Level (§§ 2X1.1(a), 2B1.1(a)(2))                                    6

               Plus: Loss More than $1.5 Million (§ 2B1.1(b)(1)(I))                            +16

               Plus: Involved 10 or More Victims (§ 2B1.1(b)(2)(A))                            +2

               Plus: Sophisticated Means (§ 2B1.1(b)(10)(C))                                   +2

               Minus: Acceptance of Responsibility (§ 3E1.1(a), (b))                           -3

               Total Adjusted Offense Level:                                                   23

(PSR ¶¶ 13-25.) Based on a total offense level of 23 and a Criminal History Category I, the
advisory Guidelines range is 46 to 57 months’ imprisonment. (PSR ¶ 62.) The government does
not object to the Guidelines calculation contained in the PSR. Nonetheless, consistent with the
plea agreement between the parties, the government agreed to not recommend a sentence of more
than 41 months’ imprisonment.2 (See Plea Agreement ¶ 5(b).)

       B.      A Two-Level “Minor” Role Reduction Should Not Be Applied

               To date, the defendant has not filed any objections to the PSR, including the
Guidelines calculation. However, based on the undersigned’s communications with defense
counsel, the undersigned anticipates that the defendant will assert that she is entitled to a two-level
minor role reduction, pursuant to § 3B1.2(b). (See Plea Agreement ¶ 2.) The government
disagrees. With the exception of reserving her right to argue that a minor role reduction is
warranted, the defendant stipulated to the above Guidelines calculation. (Id.)

                The defendant is not entitled to a minor role reduction, as she does not meet the
criteria for such a reduction. The Guidelines provide that a defendant’s base offense level may be
reduced if the defendant was a “minor” participant. See U.S.S.G. § 3B1.2(b). The commentary
defines a “minor participant” as a defendant “who is less culpable than most other participants.”

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               41 months’ imprisonment is the low-end of the Guidelines range for an adjusted
offense level of 22.


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U.S.S.G. § 3B1.2(b) and Application Notes 4-5. In fact, an adjustment under § 3B1.2 is
appropriate only when a defendant is “substantially less culpable than the average participant.”
U.S.S.G. § 3B1.2(b), Application Note 3(A) (emphasis added).

                 A defendant has the burden of proving by a preponderance of the evidence that she
is entitled to a mitigating role adjustment under § 3B1.2 of the Guidelines. See United States v.
Yu, 285 F.3d 192, 200 (2d Cir. 2002); United States v. Castano, 234 F.3d 111, 113 (2d Cir. 2000);
United States v. Colon, 220 F.3d 48, 51 (2d Cir. 2000). Moreover, a district court judge’s analysis
of the defendant’s role in criminal activity is “‘highly fact-specific and depends upon the nature of
the defendant’s relationship with other participants, the importance of the defendant’s actions to
the success of the venture, and the defendant’s awareness of the nature and scope of the criminal
enterprise.’” United States v. Carpenter, 252 F.3d 230, 234 (2d Cir. 2001) (quoting United States
v. Shonubi, 998 F.2d 84, 90 (2d Cir. 1993)).

                The Second Circuit has repeatedly emphasized that a mitigating role reduction
“‘will not be available simply because the defendant played a lesser role than his co-conspirators;
to be eligible for a reduction, the defendant’s conduct must be ‘minor’ or ‘minimal’ as compared
to the average participant in such a crime.’” Carpenter, 252 F.3d at 235 (quoting United States v.
Rahman, 189 F.3d 88, 159 (2d Cir. 1999)); accord, e.g., United States v. Jeffers, 329 F.3d 94, 103
(2d Cir. 2003).

                 Here, the defendant’s claim that her role was minor is simply belied by the facts.
The defendant played a central and essential role in the charged conspiracy from the beginning.
The defendant was more than a mere money courier, she was an equal partner with her late husband
in their fraudulent business. Text messages recovered from the defendant’s cellphone, pursuant to
a judicially authorized search warrant, reveal that the defendant had full knowledge of the scheme,
controlled the money (both depositing and withdrawing money from Victims’ bank accounts), and
alerted her late husband when no funds were available and they were charged-back for
altered/fictitious checks. For example:

                  On September 22, 2016, the defendant texted her late husband “Got clobbered
                   today in Citibank 2450 1825 and 475” and then “I have plenty of money to
                   deposit in citi 7 grand for tomorrow and 4500 in mail”

                  On October 27, 2016, the defendant texted her late husband “Got 2 chargeback
                   in city today 1875 and 475[;]” her late husband responded “Oh boy lets go over
                   the tickets to run when u get time”

                  On October 30, 2016, the defendant texted her late husband “The 1875
                   chargeback was [Victim] 3 for altered fictious and 475 was [Victim] for
                   warranty breach”


       3
              “Victim” is used throughout but does not represent the same victim. There were
hundreds of victims of the defendant’s fraudulent scheme and each reference is to a different
victim.


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                  On November 1, 2016, the defendant texted her late husband “No funds
                   available for [Victim]” “at this time[;]” her late husband responded “Ok next
                   week try 475”

                  On November 4, 2016, the defendant texted her late husband “Acct got locked
                   Kim is trying to unlock it” and “Kim’s trying to get block off[;]” her late
                   husband responded “Fraud Dept or clich [sic]”

                  On November 4, 2016, the defendant texted her late husband “Found a do it
                   myself check processing for 20 bucks signing up now” and “How many checks
                   do we write a month 50[;]” to which the defendant’s husband responded “Yes”

                  On April 1, 2017, the defendant texted her late husband “I forgot to add
                   [Victim] for 1375[;]” “It’s total including [Victim] for 3450 is 17,450 less
                   chargebacks net is 12,100” and “It’s 17520 and net 12170 . . .”

                  On October 28, 2017, the defendant texted her late husband “[Victim] was a
                   chargeback for fictitious so it’s the only ticket can’t be run”

                  On November 17, 2017, the defendant texted her late husband “Got this in fax
                   from [Victim];” the defendant included a screenshot of the fax which stated
                   “fraudulent charges” and “I just discovered a fraudulent charge to my acct on
                   11/13 for $1850.” The defendant’s late husband responded “Through in
                   garbage.”

                  On May 9, 2018, the defendant texted her late husband “Apple bank is closing
                   us got some information and have to cluse us by the 21 st[;]” the defendant’s
                   late husband responded “There are 7770 thousand credit unions in America /:/
                   I found the list so pick one and open an account /// personal or business or
                   savings” and “forget about these creeps locally.”

(See Extraction of Text Messages annexed hereto as Exhibit A.)4

                As shown, the defendant’s conduct was critical to the success of the conspiracy,
and she was clearly aware of the nature and the scope of the conspiracy because she helped to
execute the fraudulent scheme. There is no support for the argument that the defendant is
“substantially less culpable than the average participant.” In fact, although the government is not
making such a claim, it is arguable that the defendant played in aggravating role in the conspiracy
inasmuch as she recruited her members from her family, including a minor, to assist in stuffing
and mailing envelopes to be mailed to elderly victims across the United States. (See Ex. A (March
23, 2017 text message from the defendant “[Family Member]” did 71 envelopes [Minor Family



       4
               As the text messages contain names of victims, the Exhibit is being filed under seal.


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Member] did 155 they are all out of supplies” and May 29, 2017 the defendant texted “We went
to post office with [Minor Family Member] envelopes all done”))

               Accordingly, the defendant’s claim that she is entitled to a two-level minor role
reduction is meritless and should be denied.

III.   Argument

               The Court’s “starting point and the initial benchmark” when determining the
defendant’s sentence is the advisory Guidelines range of imprisonment. Kimbrough v. United
States, 552 U.S. 85, 101 (2007). The government submits that a sentence of no more than 41
months would be sufficient, but not greater than necessary, to achieve the goals of sentencing in
this case. Such a sentence is warranted to address (1) the seriousness of the defendant’s conduct,
(2) the defendant’s disregard for the law, and (3) the need for specific and general deterrence. See
18 U.S.C. §§ 3553(a)(1), (a)92)(A)-(C).

               Here, the extremely serious nature of the offense, the need for deterrence, the
history and characteristics of the defendant, the need to promote respect for the law and to provide
just punishment warrants a sentence of no more than 41 months’ imprisonment.

       A.      The Nature and Circumstances of the Office/Seriousness of the Offense

                Section 3553(a) requires the Court to consider “the nature and circumstances of the
offense” and to impose a sentence that “reflect[s] the seriousness of the offense.” 18 U.S.C.
§§ 3553(a)(1) and (a)(2)(A). Consideration of those factors strongly suggest a significant sentence
is appropriate.

               The seriousness of the offense speaks for itself: the defendant inflicted financial
harm to hundreds of elderly persons. As described above, the defendant and her late husband
victimized elderly individuals across the United States, tricking them into believing their
biographies would be published in a registry and then stealing money directly out of the victims’
bank accounts. The defendant was not a “minor” player in the fraudulent scheme; she was an
equal partner with her late husband. She controlled the money (both depositing and withdrawing
money from victims’ bank accounts), and alerted her late husband when no funds were available
and they were charged-back for altered/fictitious checks. Oftentimes, the defendant and her late
husband continued to withdraw money from the victims’ bank accounts stopping only when there
was either no money left to withdraw from the victims’ accounts or the banks were alerted to the
fraudulent activity. In total, the defendant’s victims lost more than $1.5 million.

               Notably, the defendant engaged in deceitful tactics. She and her late husband
created fraudulent checks, each that contained a stamp on the signature line that stated no signature
was required. And, when the defendant’s bank accounts were closed due to fraudulent activity,
she opened up additional bank accounts with different banks and credit unions across the country
and continued her criminal scheme.

             Moreover, the length of the fraud warrants a substantial sentence. The defendant
committed the fraud over the course of five years, only stopping when she was arrested. The



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defendant did not have a one-time lapse in judgment. She made a daily decision to steal from the
elderly for over five years.

                  Another factor in demonstrating the seriousness of the fraud warranting a
significant sentence is the type of fraud this was: elder fraud. Unlike an accounting fraud, the
defendant’s fraud was very personal and targeted vulnerable members of the community: the
elderly. Financial fraud against elderly Americans is a crime that is all too common in our society.
(See, e.g., Yika Hayaski, Elder Fraud on the Rise, Wall Street Journal, February 27, 2019,
https://www.wsj.com/articles/elder-fraud-on-the-rise-11551309306.) The defendant and her late
husband used their skills to reach out to victims around the country, building on these victims’
trust using falsehoods, and ultimately making millions of dollars in their criminal conspiracy.
Elder fraud often deprives victims of important things that victims had worked hard and planned
for all their lives. These include: a comfortable retirement; the security of not having to worry that
much about finances as a senior; and the ability to spend time with, and provide meaningful support
for, family members. Moreover, while the financial losses are staggering, they are by no means
the only harm. A common reaction is humiliation and anxiety. Victims blame themselves for
being “stupid” to fall for the scheme. They often hide their losses from family and become anxious
about answering the phone or checking email. These effects can linger for years.

                The fact that the defendant and her late husband did not break windows or doors to
take their victims’ assets from them, that they didn’t point firearms at their victims to get them to
hand over their assets, and did not threaten their victims with bodily harm in no way diminishes
the seriousness of this offense. Indeed, the use of technology, guile and other subtle and
sophisticated means to achieve their criminal goals makes the defendant a particularly devious and
dangerous actor.

       B.      Nothing in the Defendant’s Background Provides Compelling Mitigation

               The next factor that the Court must consider is the “history and characteristics of
the defendant.” 18 U.S.C. § 3553(a)(1). The circumstances of the defendant’s upbringing, family
structure, and lack of criminal history, should certainly be considered, but they must also be
balanced with the nature and gravity of the instant offense.

                Despite the fact that the defendant has no criminal history, her conduct was not
aberrant behavior as the result of her relationship with her late husband. As noted above, the
defendant’s conduct extended over a period of five years. The defendant is an intelligent woman,
and her conduct was not a momentary aberration or lapse of reason. Nor does the defendant’s lack
of criminal history mitigate against a significant sentence. The applicable Guidelines range
already reflects the defendant’s limited criminal history, placing her in the lowest possible criminal
history category. As such, her lack of criminal history does not merit an additional variance.

               Further, the defendant’s age and educational background when she committed the
instant crime counsels against a reduced sentence. Indeed, she was 49 years old when she started
stealing from the elderly; she was not a child. And she had a degree from a fine educational
institution.




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               The defendant’s positive upbringing also warrants a significant sentence. As the
defendant explained, she had a “‘perfect’ childhood, devoid of abuse, [ ] that she socialized
constantly, and her parents ‘made marriage look easy.’” (See PSR ¶ 35.) The defendant, unlike
so many defendants that appear for sentencing, was raised by two loving parents in a home devoid
of physical or verbal abuse. The defendant did not suffer from mental health or substance abuse
problems that led her to commit this fraud. The defendant had every opportunity to lead a
productive, law-abiding life: she had a positive upbringing and a supportive, loving family.
Despite all of this, she chose to defraud unsuspecting victims. And she should be punished
accordingly. What makes the defendant’s criminal conduct so appalling is that she learned work
ethic from her parents and witnessed first-hand how hard her parents worked to provide for her
and her brother. Instead of following her parents’ path, she chose a different path, an easier path.
A path where she victimized people who, like her parents, worked to provide a better life for their
families.

                Moreover, the fact that the defendant is the primary caregiver for her mother and is
the sole surviving parent to her son does not warrant a reduction in her sentence. It is unfortunate
– but neither unexpected nor extraordinary – that a defendant’s criminal conduct may negatively
affect her family. Cf. United States v. Madrigal, 331 F.3d 258, 260 (2d Cir. 2003) (noting that the
defendant mother’s separation from her children, although unfortunate, was a common collateral
damage of imprisonment).

       C.      The Need for Both Specific and General Deterrence is High

                The needs for the sentence imposed to promote respect for the law and to afford
adequate deterrence to criminal conduct warrant a substantial sentence. See 18 U.S.C.
§§ 3553(a)(2)(A), 2(B). This Court has a responsibility to send clear, unambiguous messages that
financial crimes will be punished. If that message is muted, criminals will quickly learn that blatant
million-dollar fraud schemes do not merit significant prison sentences.

                 Here, in light of the defendant’s choice to commit years of financial fraud in this
case, there is a strong and self-evident need for specific deterrence.

                Moreover, given the amount of money the defendant stole as part of her fraudulent
scheme, those who are given the opportunity to participate in a fraud where they receive millions
of dollars will not be deterred if the defendant is not punished severely. That is particularly so
because frauds involving private companies, like here, are, by their very nature, opaque to law
enforcement officers, and thus essentially difficult to detect and prosecute.

                White collar criminals are among the most responsive to the general deterrence of
a significant sentence. Unlike many of the criminals who pass through this Court, white collar
criminals or those considering committing financial crimes are generally well-educated, have
access to and are more acutely aware of information about white collar sentences. A significant
sentence for the defendant can help protect the public by providing strong general deterrence to
the next person considering participating in fraud. There is a greater need for general deterrence
for sophisticated fraud schemes than other crimes, because “economic and fraud-based crimes are
more rational, cool and calculated than sudden crimes of passion or opportunity, these crimes are
prime candidates for general deterrence.” See, e.g., United States v. Martin, 455 F.3d 1227, 1240


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(11th Cir. 2006) (quoting Stephanos Bibas, White-Collar Plea Bargaining and Sentencing After
Booker, 47 Wm. & Mary L. Rev. 721, 724 (2005) (internal quotation marks omitted); United States
v. Heffernan, 43 F.3d 1144, 1149 (7th Cir. 1994) (“Considerations of (general) deterrence argue
for punishing more heavily those offenses that either are lucrative or are difficult to detect and
punish, since both attributes go to increase the expected benefits of a crime and hence the
punishment required to deter it.”); Drago, Francesco, Roberto Galbiati & Pietro Vertova, The
Deterrent Effects of Prison: Evidence From a Natural Experiment, 117 J. of Political Econ. 257,
278 (2009) (“Our findings provide credible evidence that a one-month increase in expected
punishment lowers the probability of committing a crime. This corroborates the theory of general
deterrence.”).

IV.    Conclusion

              For the reasons set forth herein, the government submits that a sentence of no more
than 41 months’ imprisonment is sufficient, but not greater than necessary, to achieve the goals of
sentence. See 18 U.S.C. § 3553(a)(2).

                                                     Respectfully submitted,

                                                     BREON PEACE
                                                     United States Attorney

                                             By:        /s/
                                                     Catherine M. Mirabile
                                                     Assistant U.S. Attorney
                                                     (631) 715-7850


cc:    Kevin Keating, Esq.
       Counsel for the Defendant




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